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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                  Case Number: 20-22434-CIV-MARTINEZ-OTAZO-REYES

  AUDLEY BROWN,

         Plaintiff,

  vs.

  GENERAC POWER SYSTEMS, INC., et al.,

        Defendants.
  _____________________________________/

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
         THE MATTER was referred to the Honorable Alicia M. Otazo-Reyes, United States

  Magistrate Judge, for a Report and Recommendation on Defendant Generac Power Systems, Inc.’s

  Motion for Sanctions, [ECF Nos. 26, 28]. After conducting an evidentiary hearing on the matter,

  Magistrate Judge Otazo-Reyes filed a Report and Recommendation, [ECF No. 47], recommending

  that the motion be granted in part. Specifically, Magistrate Judge Otazo-Reyes recommended that

  Plaintiff’s counsel be sanctioned pursuant to Federal Rule of Civil Procedure 11 and Defendant

  Generac be awarded its reasonable fees and costs incurred in prosecuting the Motion for Sanctions.

  [ECF No. 26]. The Court has reviewed the entire record and notes that no objections have been

  filed. After careful consideration, it is hereby:

         ADJUDGED that United States Magistrate Judge Otazo-Reyes’s Report and

  Recommendation, [ECF No. 47], is AFFIRMED and ADOPTED. Accordingly, it is:

         ADJUDGED that

         1.      Defendant Generac Power Systems, Inc.’s Motion for Sanctions, [ECF No. 26], is

                 GRANTED IN PART and DENIED IN PART.

         2.      Pursuant to Federal Rule of Civil Procedure 11, sanctions are hereby imposed on
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               Albert Bordas, Manotti L. Jenkins, Albert Bordas PA, and the Law Offices of

               Manotti L. Jenkins, Ltd., jointly and severally. Defendant Generac is entitled to its

               reasonable fees and costs incurred in prosecuting the instant Motion for Sanctions.

        3.     Defendant Generac SHALL file a Motion for Attorneys’ Fees and Costs pursuant

               to this Order, including supporting documentation for the amount of fees and costs

               requested, on or before March 30, 2021.

        2.     Rule 11 sanctions SHALL NOT be imposed on Plaintiff Audley Brown.

        DONE AND ORDERED in Chambers at Miami, Florida, this 17th day of March, 2021.


                                                     ____________________________________
                                                     JOSE E. MARTINEZ
                                                     UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Otazo-Reyes
  All Counsel of Record




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